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UNI'I`ED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: ANDREW O. OLSON MISC. BUSINESS DOCKET

No.: 16-mC-9l l4l-PBS

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NOTICE OF FILING OF DISCIPLINARY ACTION

Notice is hereby given to ANDREW O. OLSON, of the filing With the United States
District Court for the District of Massachusetts of a certified copy of a judgment or order
demonstrating that you have been disciplined by the Supreme Judicial Court. A copy of that
judgment or order is enclosed herein, along with a copy of Local Rule 83.6.9.

Also enclosed is a Order to Show Cause to Which you are required to respond Within twenty-
eight (28) days after service of this Notice and the Order, pursuant to this Court’s Local Rule

83.6.9(b)(2).

DATED; May § ,2016 BY:/%%M

RObertM Fan~ell
Clerk of Court

